                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRCT OF TEXAS TYLER
                                       DIVISION




 LOUIS GOHMERT, TYLER BOWYER, NANCY
 COTTLE, JAKE HOFFMAN, ANTHONY KERN,                        Civil Action No. 6:20-cv-00660-JDK
 JAMES R. LAMON, SAM MOORHEAD,
 ROBERT MONTGOMERY, LORAINE
 PELLLEGRINO, GREG SAFSTEN, KELLI WARD
 and MICHAEL WARD,
              Plaintiffs,
         v.                                                          (ELECTION MATTER)

 THE HONORABLE MICHAEL R. PENCE, VICE
 PRESIDENT OF THE UNITED STATES, in his
 official capacity.
              Defendant.

    UNOPPOSED PLAINTIFFS’ AMENDED MOTION FOR EXTENSION OF TIME
                     TO FILE RESPONSIVE BRIEF


        Come now the Plaintiffs, U.S. Rep. Louie Gohmert (TX-1), Tyler Bowyer, Nancy Cottle,

Jake Hoffman, Anthony Kern, James R. Lamon, Sam Moorhead, Robert Montgomery, Loraine

Pellegrino, Greg Safsten, Kelli Ward, and Michael Ward, by and through their undersigned

counsel, and request that this Court extend the time for Plaintiffs to file their responsive brief by

one hour. In support thereof, Plaintiffs state:

       Plaintiffs have employed a team of lawyers to prepare their responsive brief. During the

course of preparation, Plaintiffs’ counsel have encountered numerous technical incompatibilities
in the software versions between Google Docs and Microsoft Word resulting in editing

difficulties and text problems.

       WHEREFORE, Plaintiffs request an extension of one hour of the deadline for filing their
responsive brief.
Dated: January 1, 2021                      Respectfully submitted,


Howard Kleinhendler                                  /s/ William L. Sessions
Howard Kleinhendler Esquire                          William Lewis Sessions
NY Bar No. 2657120                                   Texas Bar No. 18041500
369 Lexington Ave., 12th Floor                       Sessions & Associates, PLLC
New York, New York 10017                             14591 North Dallas Parkway, Suite 400
Tel: (917) 793-1188                                  Dallas, TX 75254
Fax: (732) 901-0832                                  Tel: (214) 217-8855
Email: howard@kleinhendler.com                       Fax: (214) 723-5346
                                                     Email: lsessions@sessionslaw.net

Lawrence J. Joseph                                   Julia Z. Haller
DC Bar No. 464777                                    DC Bar No. 466921
Law Office of Lawrence J. Joseph                     Brandon Johnson
1250 Connecticut Ave, NW, Suite 700-1A               DC Bar No. 491370
Washington, DC 20036                                 Defending the Republic
Tel: (202) 355-9452                                  601 Pennsylvania Ave., NW
Fax: 202) 318-2254                                   Suite 900
Email: ljoseph@larryjoseph.com                       South Building
                                                     Washington, DC 20004
                                                     Tel: (561) 888-3166
                                                     Fax: (202) 888-2162
                                                     Email: hallerjulia@outlook.com
                                                     Email: brandoncjohnson6@aol.com

                                                     Counsel for Plaintiffs




             Plaintiffs’ Unopposed Amended Motion for Extension of Time to File Reply Brief - 2
                              CERTIFICATE OF CONFERENCE

       I hereby certify that as counsel for Plaintiffs, I have complied with the meet and confer

requirement in Local Rule CV-7(h) in the following respects: I have personally contacted and

spoken with Mr. John Coghlan from the Civil Division of the United States Department of Justice

in Washington, D.C. The contents of the foregoing Motion and the Defendant’s position on same

were discussed. Defendant’s counsel indicated that Defendant does not oppose the Motion

Dated: January 1, 2021                              /s/ William L. Sessions
                                                    William Lewis Sessions
                                                    Counsel for Plaintiffs




            Plaintiffs’ Unopposed Amended Motion for Extension of Time to File Reply Brief - 3
                                  CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing motion (together with
its accompanying memorandum of law and proposed order) with the Clerk of the Court using the
CM/ECF system and served all counsel of record


  Dated: January 1, 2020                             __/s/ William Lewis Sessions________
                                                     William Lewis Sessions
                                                     Counsel for Plaintiffs




             Plaintiffs’ Unopposed Amended Motion for Extension of Time to File Reply Brief - 4
